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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )              8:05CR282
              Plaintiff,                        )
                                                )
       v.                                       )
                                                )              ORDER
WILLIAM SCHWENING,                              )
RUSSELL HOFFMANN,                               )
                                                )
              Defendants.                       )



       This matter is before the court on the government’s motion for reconsideration.

Filing No. 42. The government asks this court to reconsider its Order, Filing No. 40,

because the court ruled prior to response time for the government to file a brief. See

NECrimR 12.3(c)(1). The government wishes to have its brief considered with respect to

defendants’ motion to dismiss or in the alternative for a bill of particulars, Filing No. 33.

After reviewing the circumstances, the court agrees with the government. Accordingly, the

court will withdraw its Order granting the bill of particulars, Filing No. 40, and will order the

magistrate to consider Filing No. 33.

       THEREFORE, IT IS ORDERED:

       1. The government’s motion for reconsideration, Filing No. 42, is granted;

       2. The court’s Order dated January 6, 2006, Filing No. 40, is withdrawn; and

       3. The motion to dismiss, or in the alternative for a bill of particulars, is referred to

the magistrate.

       DATED this 12th day of January, 2006.

                                            BY THE COURT:



                                            s/Joseph F. Bataillon
                                            JOSEPH F. BATAILLON
                                            UNITED STATES DISTRICT JUDGE
